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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

                                        )
 AMAZON.COM, INC. and AMAZON            )
 DATA SERVICES, INC.                    )
                                        )
                                        )
             Plaintiffs,                )
                                        )
                     v.                 )          Civil Action No. 1:20-cv-484(LO/TCB)
                                        )
 WDC HOLDINGS LLC, d/b/a                )
 NORTHSTAR COMMERCIAL                   )
 PARTNERS, et al.,                      )
                                        )
             Defendants.                )
 ______________________________________ )

                                           ORDER

         FOR REASONS stated from the bench, and in accord with specific rulings and

 instructions thereto, it is hereby

         ORDERED that Plaintiffs’ Motions for Sanctions (Dkt. 307) is GRANTED.

         The Court finds that Defendants WDC Holdings LLC and Brian Watson willfully failed

 to comply with Court’s prior discovery orders (Dkts. 95, 231, 302) and their discovery

 obligations under Federal Rule of Civil Procedure 37. This finding shall be admissible in any

 future motions regarding injunctive relief filed by Plaintiffs Amazon.Com, Inc. and Amazon

 Data Services, Inc.

         ENTERED this 10th day of September, 2021.



                                                                                 /s/

                                           THERESA CARROLL BUCHANAN
                                           UNITED STATES MAGISTRATE JUDGE
         Alexandria, Virginia
